Case 1:15-cv-00662-TSE Document 173 Filed 01/02/19 Page 1 of 2

lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

WIKIMED[A FOUNDATION, )
Plaintiff, )

)

v. ) Case No. l:lS-cv-662

)

NATIONAL SECURITY AGENCY, el )
al., )
Defendants. )

)

ORDER

 

'Ihis matter is before the Court on defendants’ motion for a stay of proceedings The
appropriations act funding the Department of Justice expired on December 21, 2018. Defendants
have represented that, absent an appropriation, half of the attorneys assigned to this case are
prohibited from working. Defendants accordingly request, and plaintiff does not oppose, a stay
of the proceedings for the duration of the lapse in appropriations 'I`his requested stay is
appropriate because the lapse in appropriations seriously impairs the Department of Justice’s
ability to defend this case.

Defendants further request that, when Congress appropriates new funds for the
Department of Justice, all deadlines in the briefing and oral argtunent schedule (Doc. 158) be
extended commensurate with the duration of the lapse in appropriations Plaintiff argues that
such an extension may unfairly advantage defendants This argument is unpersuasive Following

the passage of a new appropriations act, a new briefing and oral argument schedule will issue
that preserves the pacing of the current schedule.

Accordingly, and for good cause,

Case 1'15-cv-00662-TSE Document 173 Filed 01/02/19 Page 2 of 2

It is hereby ORDERED that defendant’

s motion for stay of proceedings (Doc. l7l) is
CRAN'I'ED.

lt is further ORDERED that the Sepf¢mbot 25. 2018 order establishing a briefing md
oral argument schedule in this ease (Doc. 158) is VACATED.
Amvisedsched\defor filingthcremainingbriefsandfororalargumemwillissue

Promptly at the end of the government shutdown

TheClerkofCotu'tisdirectedtoprovideacopyofthis()rdertoallcounselofreoord.

Al@><mdns.’ Wrsinia
Janumy 2, 2019

    
  

T. S. Ellis, III
Unitcd States D

